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W/D OF i`N, lilElllPHlS
UN|TED STATES OF AMER|CA,

P|aintiff,
VS. CR. NO. 04-20469-5

MECHELLE CRAWFORD

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SE`|'|'|NG

 

This cause came to be heard on June 30, 2005, the United States Attorney for this districtl
Tim DiScenza, appearing for the Government and the defendant, Meche||e Crawford, appearing in person
and with counsel, Ed Perry, who represented the defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this Case is SET for WEDNESDAY, OCTOBER 5, 2005, 319:00 A.M.,
in Courtroom No. 1, on the 11th floor before Judge J. Danie| Breen.

Defendant is allowed to remain released on present bond.

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ENTERED this rhel£_ day of June, 2005.

 

J. oANlEL BREEN\
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Honorable J. Breen
US DISTRICT COURT

